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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
         Plaintiff,                          )
                                             )
V.                                           )       NO.    4:21CR000I l MTS
                                             )              4:21CR00012 MTS
                                             )
SAMUEL STODDARD,                             )
                                             )
          Defendant.                         )


                                 GUILTY PLEA AGREEMENT

       Come now the parties and hereby agree, as follows:

1.   PARTIES:

       The parties are the defendant, SAMUEL STODDARD, represented by defense counsel,

Brocca Morrison, Esq., and the United States of America (hereinafter "United States" or

"Government"), represented by the Office of the United States Attorney for the Eastern District of

Missouri. This agreement does not, and is not intended to, bind any governmental office or agency

other than the United States Attorney for the Eastern District of Missouri. The Court is neither a

party to nor bound by this agreement.

2.   GUILTY PLEA:

       Pursuant to Rule 11 (c)(1 )(A), Federal Rules of Criminal Procedure, in exchange for the

defendant's voluntary plea of guilty to Counts 4, 6, 7, 9, and 10 of Criminal Case Number

4:21CR000011 MTS and Counts 8 through 10 in Criminal Case Number 4:21CR000012 MTS, the

United States agrees that it will move for the dismissal of Counts 1, 2, 3, 5, and 8 of Criminal Case

Number 4:21CR000011 MTS and Counts 1 through 7 in Criminal Case Number 4:21CR000012
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MTS as to the defendant at the time of sentencing. The government further agrees that no further

federal prosecution will be brought in this District relative to the defendant's participation in

schemes to fraudulently use the identifying information of others and to fraudulently produce and

use counterfeit identification documents and motor vehicle titles between November 1, 2018 and

September 9, 2021 , of which the Government is aware at this time. In addition, the parties agree

that the U.S. Sentencing Guidelines Total Offense Level analysis agreed to by the parties is the

result of negotiation and led, in part, to the guilty plea. The parties further agree that either party

may request a sentence above or below the U.S. Sentencing Guidelines range (combination of Total

Offense Level and Criminal History Category) ultimately determined by the Court pursuant to any

chapter of the Guidelines and Title 18, United States Code, Section 3553(a) as long as notice of any

such request be given in writing no later than ten days prior to sentencing and that said notice shall

specify the legal and factual bases for the request.

3.   ELEMENTS:

Criminal Case Number 4:21CR00011 MTS

       As to Count 4, the defendant admits to knowingly violating Title 18, United States Code,

Section 1028A, and admits there is a factual basis for the plea and further fully understands that the

elements of the crime are:

       One, that the defendant knowingly transferred, possessed, or used, without lawful

       authority, a means of identification of another person;

       Two , that the defendant knew that the means of identification the defendant transferred,

       possessed, or used belonged to another person;

       Three, that the defendant transferred, possessed, or used the means of identification without


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        Three, that, at the time he moved the vehicle, and, caused the vehicle to be moved, across a

        state line, the defendant knew it was stolen.

       As to Count 9, the defendant admits to knowingly violating Title 18, United States Code,

Section 1028(a)(7), and admits there is a factual basis for the plea and further fully understands that

the elements of the crime are:

       One, that the defendant knowingly transferred or possessed, without lawful

       authority, a means of identification of another person;

       Two , that the defendant knew that the means of identification the defendant

       transferred or used belonged to another person;

       Three, that the defendant transferred or possessed the means of identification

       without lawful authority;

       Four, that the defendant knew that he transferred or possessed the means of

       identification without lawful authority; and

       Five, that the defendant transferred or possessed the means of identification with the

       intent to commit, and in connection to the crimes of forgery and stealing.

       As to Count 10, the defendant admits to knowingly violating Title 18, United States Code,

Section 2313 , and admits there is a factual basis for the plea and further fully understands that the

elements of the crime are:

       One, that the 2021 Volvo XC90 with Vehicle Identification Number YV4A22PK9Ml686036

       was stolen;

       Two , that, after it was stolen, the 2021 Volvo XC90 was moved across a state line;




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        Three, that, after the 2021 Volvo XC90 had been stolen and moved across a state line, the

        defendant possessed or concealed it; and

       Four, that, at the time the defendant received or concealed the 2021 Volvo XC90, he knew

        it had been stolen.

Criminal Case Number 4:21CR00012 MTS

       As to Count 8, the defendant admits to knowingly violating Title 18, United States Code,

Section 1028(a)(3), and admits there is a factual basis for the plea and further fully understands that

the elements of the crime are:

       One, that the defendant possessed five or more identification or false identification

       documents;

       Two , that the defendant knowingly possessed the identification documents or false

       identification documents with the intent to use or transfer them unlawfully; and

       Three, that the defendant possessed the identification documents or false

       identification documents in interstate commerce.

       As to Count 9, the defendant admits to knowingly violating Title 18, United States Code,

Section 1028(a)(5), and admits there is a factual basis for the plea and further fully understands that

the elements of the crime are:

       One, that the defendant knowingly produced, transferred, possessed a document-

       making implement;

       Two , that the defendant intended that the document-making implement be used to

       produce a false identification document; and




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        Three, that the document-making implement is designed or suited for making a false

        identification document that is or appears to be issued by or under the authority of a

        State.

       As to Count 10, the defendant admits to knowingly violating Title 18, United States Code,

Section 2315 , and admits there is a factual basis for the plea and further fully understands that the

elements of the crime are:

        One, that the defendant received or possessed a security;

       Two , that the security had been counterfeited;

       Three, that the defendant knew the security had been counterfeited; and

       Four, that, at the time the security was possessed, it constituted interstate commerce.

4.   FACTS:

       The parties agree that the facts in this case are as follows and that the government would

prove these facts beyond a reasonable doubt if the case were to go to trial.   These facts may be

considered as relevant conduct pursuant to Section 1B 1.3:

       Defendant agrees and admits that he had been involved fraudulent schemes with Bryson

Whiteside, "Whiteside," as well as with co-defendants Anthony Fant, "Fant," Kelly Miller,

"Miller," and Skylar Dancy, "Dancy."

       On February 27, 2020, law enforcement authorities executed a search warrant upon

Defendant' s St. Louis residence. The following items were among those recovered from the

residence: a Toshiba laptop computer; an HP laptop computer; a notary seal; illegal narcotics; a

device used to create vehicle identification number tags; cellphones; two counterfeit State of

Missouri temporary driver' s licenses in the name of J.M. ; a counterfeit University of Texas student


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identification document in the name of J.M. ; two counterfeit State of Missouri temporary non-

driver' s licenses in the name of J.M.; a stolen birth certificate in the name of T.S .; a stolen social

security card in the name of T.S. ; auto insurance and health insurance cards in the name of A.S.; a

counterfeit Missouri temporary license in the name of J.E. bearing the image of Defendant; a

counterfeit State of Illinois motor vehicle title for a 2019 Chevrolet Malibu in the name of J.M. ;

and a letter demanding the return of a rented 2019 Chevrolet Malibu from J.M. A forensic

examination of the computer equipment seized on February 27, 2020 revealed additional images of

stolen and counterfeit birth certificates, social security cards, Missouri temporary driver' s licenses,

and an Immigration and Naturalization Service Refugee Travel Document. Defendant agrees and

admits that he possessed the stolen and counterfeit identification documents in order to defraud

individuals and businesses.

       Defendant further agrees and admits that he used the Toshiba laptop computer, the HP

laptop computer and the notary seal that were seized by law enforcement to create counterfeit state

issued identification documents and motor vehicle titles. In particular, Defendant agrees and admits

that, he created a counterfeit State of Missouri driver' s license for Fant in the name of J.M. that

Fant used to fraudulently rent a 2019 Chevrolet Malibu. After Fant transferred possession of the

vehicle to Defendant, Defendant counterfeited the State of Illinois motor vehicle title for the vehicle

that was seized by law enforcement authorities from Defendant's home on February 27, 2020.

Defendant agrees and admits that he produced and possessed the counterfeit vehicle title in order

to prevent its recovery by the rental company. Defendant also agrees that his production and

possession of the counterfeit motor vehicle title affected and constituted interstate commerce.

       Although Defendant acknowledged his involvement with the possession and production of


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counterfeit documents and securities on February 27, 2020, while the Government was furthering

its criminal investigation, Defendant continued engaging in similar activities with Dancy. In

particular, on October 6, 2020, Defendant agrees and admits that he and Dancy attempted to

purchase a German Shepard puppy from a retailer in St. Charles, Missouri. After the initial attempt,

on October 9, 2020, Dancy successfully used a counterfeit temporary Missouri driver' s license in

the name of R.G. so Dancy could purchase the puppy for an amount exceeding $5,600. R.G.

reported the fraudulent use of his identity to the Webster Groves Police Department. Through the

subsequent investigation, on November 19, 2020, Webster Groves detectives located a stolen 2021

Volvo XC90 and a stolen 2019 Volvo S60 at Defendant' s residence.

       Defendant further agrees and admits that on October 20, 2020, he and Dancy used a

counterfeit State of Missouri temporary driver's license bearing the name of J.S., and the image of

Dancy, as well as J.S .' s name, date of birth, and social security number in leasing the 2021 Volvo

XC90, valued in excess of $56,000, from an Overland Park, Kansas Volvo dealership. Defendant

also agrees and admits that he drove Dancy to Overland Park so Dancy could finalize the fraudulent

transaction. Defendant agrees and admits that he and Dancy returned to Defendant's St. Louis

residence the same date with Dancy driving the 2021 Volvo.

       On November 11 , 2020, Defendant and Dancy fraudulently obtained the 2019 Volvo S60

from a Volvo dealership in St. Louis County Missouri. In meeting with representatives from the

dealership, Dancy represented himself to be Z.P. and Defendant claimed to be J.S., the owner of

the 2021 Volvo XC90. Using Z.P.'s name and social security number as well as a counterfeit motor

vehicle insurance identification card and counterfeit paystubs, Dancy fraudulently purchased the

vehicle for an amount exceeding $41 ,000. After completing the purchase, employees of the


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dealership photographed Defendant and Dancy posing with the 2019 Volvo as a two Volvo car

family. Defendant drove the 2021 Volvo and claimed to be J.S., the same name in which that Volvo

had been fraudulently purchased.

        Defendant also agrees and admits that, in violation of the laws of the State of Missouri , he

forged the name T.D. on November 2, 2020 in order to steal a 2020 Acura RDX, valued in excess

of $46,000, from St. Louis City Tow. Defendant agrees and admits that the vehicle had been

fraudulently purchased from a St. Louis area Acura dealership using the identity of J.S. that

Defendant used during the November 11 , 2020 fraudulent 2019 Volvo transaction. After the vehicle

had been impounded by St. Louis City Tow, Defendant further admits that he presented a

counterfeit State of Missouri motor vehicle title that fraudulently asserted his purchase of the

vehicle on December 21, 2019. Defendant also agrees and admits that, on November 2, 2020, he

forged the signature of T.D. when using a fraudulently obtained credit card to pay the towing and

impound fees to the towing company. Believing Defendant' s representations to be true, the towing

company released the vehicle to the defendant rather than its true owner, the Acura dealership.

        After being arrested by federal authorities pursuant to warrants issued in Criminal Case

Numbers 4:21CRl 1 MTS and 4:21CR12 MTS, Defendant was detained at the Jennings Adult Detention

Center. While detained, he assisted a prohibited individual, B.W., in using the stolen identity of D.R. in

order to communicate with Defendant. Defendant agrees and admits that, during telephone calls

between January 9, 2021 and January 10, 2021 , he requested that B.W. assist him in concealing the

proceeds of his fraudulent conduct and other contraband from law enforcement authorities. Defendant

agrees and admits that, during telephone calls between January 9, 2021 and January 10, 2021 , he

requested that B.W. assist him in concealing the proceeds of his fraudulent conduct and other



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contraband from law enforcement authorities. Defendant agrees and admits that he knew the names

or social security numbers of Z.P., J.S., R.G., T.D., and D.R. belonged to real individuals when he

used, or assisted Dancy and B.W. in using, them to violate the laws of the United States and the

laws of the State of Missouri .

           Defendant further agrees and admits that more than ten individuals and businesses were

victimized by Defendant' s criminal activities and that Defendant caused, and attempted to cause,

losses in excess of $150,000, but less than $250,000 in the Eastern District of Missouri. Defendant

also agrees that at the time he traveled to Kansas to assist Dancy in fraudulently obtaining the 2021

Volvo he was subject to a judicial order that mandated that he remain in Saint Louis, Missouri.

Defendant also agrees and admits that he fled the State of Missouri when he absconded from federal

pretrial supervision. While a fugitive, Defendant agrees and admits that he continued to engage in

the fraudulent activities in the States of Kentucky, Tennessee, and Georgia. Defendant further

agrees and admits that he fled at a high rate of speed from Tennessee authorities when they

attempted to arrest him resulting in a car crash in the State of Georgia.

5. STATUTORY PENALTIES:

Criminal Case Number 4:21CR00011 MTS

           The defendant fully understands that the maximum possible penalty provided by law for the

crime of aggravated identity theft to which the defendant is pleading guilty in Count 4 is a

mandatory term of imprisonment of 2 years which must be served consecutively with any other

term of incarceration imposed for the conviction of access device fraud, a fine of not more than

$250,000.00, or both. The Court may also impose no more than a I-year period of supervised

release.
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        In addition, the defendant fully understands that the maximum possible penalty provided by

 law for the crime of access device fraud to which the defendant is pleading guilty in Count 6 is

 imprisonment of not more than 10 years, a fine of not more than $250,000.00, or both. The Court

 may also impose a 3-year period of supervised release.

        The defendant fully understands that the maximum possible penalty provided by law for the

 crime of interstate transportation of a stolen vehicle to which the defendant is pleading guilty in

Count 7 is imprisonment of not more than 10 years, a fine of not more than $250,000.00, or both.

The Court may also impose a period of supervised release of not more than 3 years.

        Defendant also fully understands that the maximum possible penalty provided by law for

the crime of identity theft to which the defendant is pleading guilty in Count 9 is imprisonment of

not more than 5 years, a fine of not more than $250,000.00, or both. The Court may also impose

a 3-year period of supervised release.

       Defendant also understands that the maximum possible penalty provided by law for the
                                                                                          I t7 ---:1\    (hf\
crime of possession of a stolen vehicle to which the defendant is pleading guilty in Count;4 is~           ' ;,;

imprisonment of not more than 10 years, a fine of not more than $250,000.00, or both. The Court        ...a-c.._
may also impose a period of supervised release of not more than 3 years.

Criminal Case Number 4:21 CR00012 MTS

        The defendant fully understands that the maximum possible penalty provided by law for the

crime of possession of five or more identification or false identification documents to which the

defendant is pleading guilty in Count 8 is imprisonment of not more than 5 years, a fine of not more

than $250,000.00, or both. The Court may also impose a period of supervised release of not more

than 3 years.


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            The defendant also fully understands that the maximum possible penalty provided by law

 for the crime of possession of possession of a document-making implement to which the defendant

 is pleading guilty in Count 9 is imprisonment of not more than 15 years, a fine of not more than

 $250,000.00, or both. The Court may also impose a period of supervised release of not more than

 3 years.

        Finally, the defendant fully understands that the maximum possible penalty provided by law

for the crime of possession of a falsely made security to which the defendant is pleading guilty in

 Count 10 is imprisonment of not more than 10 years, a fine of not more than $250,000.00, or both.

The Court may also impose a period of supervised release of not more than 3 years.

6. U.S. SENTENCING GUIDELINES 2021 MANUAL:

        The defendant understands that Counts 6, 7, 9, and 10 of Criminal Case Number

4:CR21CR00011 MTS and Counts 8, 9, and 10 of Criminal Case Number 4:21CR00012 MTS are

affected by the U.S. Sentencing Guidelines and the actual sentencing range is determined by both

the Total Offense. However, pursuant to§ 2Bl. 6 Application Note 1 (a), the offense of aggravated

identity theft charged in Count 4 bears a mandatory term of imprisonment of 2 years that must

be run consecutively to any sentence imposed for Counts 6, 7, 9, and 10 of Criminal Case Number

4:CR21CR00011 MTS and Counts 8, 9, and 10 of Criminal Case Number 4:21CR00012 MTS.

        The parties agree that the following are the applicable U.S. Sentencing Guidelines Total

Offense Level provisions.

        a. Chapter 2 Offense Conduct:

                  (1) Base Offense Level: The parties agree that the base offense level is 6 as found

in Section 2B1.l(a)(l).


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                (2) Chapter 2 Specific Offense Characteristics:         The parties submit that the

 following specific offense characteristics apply: 10 levels should be added pursuant to Section

2B 1.1 (b )(1 )(F) because the loss resulting from the offense was more than $150,000.00 but less than

$250,000; 2 levels should be added pursuant to Section 2B 1.1 (b )(2)(A)(i) because the offense

 involved 10 or more victims; 2 levels should be added pursuant to Section 2B 1.1 (b)(9)(C) because

the offense involved a violation of a prior, specific judicial order not addressed elsewhere in the

 guidelines; 2 levels should be added pursuant to Section 2B 1.1 (b )(1 0)(A) because the defendant

relocated a fraudulent scheme to another jurisdiction to evade law enforcement officials; and 2

levels should be added pursuant to Section 2B1.l(b)(ll)(A)(i) and (B)(i) because the offense

involved the possession of document-making implements and the production of an unauthorized or

counterfeit access device.

       b.   Chapter 3 Adjustments:

               (1)   Other Adjustments:       The parties submit that 2 levels should be added

pursuant to Section 3C 1.2 because the defendant recklessly created a substantial risk of death or

serious bodily injury to another person in the course of fleeing from a law enforcement officer.

        The Government also submits that 4 levels should be added pursuant to Section 3B l. l(a)

because the defendant was an organizer or leader of a criminal activity that involved five or more

participants. The Defendant disagrees with the application of the enhancement as a matter of law.

               (2) Acceptance of Responsibility:        Because the objection to Defendant's role in

the offense is based upon a legal objection, the parties recommend that 3 levels should be deducted

pursuant to Section 3E 1.1 ( a) and (b) because the defendant has clearly demonstrated acceptance of

responsibility and timely notified the government of his intent to plead guilty. The parties agree


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 that the defendant's eligibility for this deduction is based upon information presently known. If

 subsequent to the taking of the guilty plea the government receives new evidence of statements or

 conduct by the defendant which it believes are inconsistent with defendant's eligibility for this

deduction, the government may present said evidence to the court, and argue that the defendant

 should not receive all or part of the deduction pursuant to Section 3El .1, without violating the plea

 agreement.

              c.   Estimated Total Offense Level:       The Government estimates that the Total

Offense Level is 27, and the Defendant estimates that the Total Offense Level is 23.

              d.   Criminal History:      The determination of the defendant's Criminal History

Category shall be left to the Court.     Either party may challenge, before and at sentencing, the

finding of the Presentence Report as to the defendant's criminal history and the applicable category.

The defendant's criminal history is known to the defendant and is substantially available in the

Pretrial Services Report.

        e.    Effect of Parties' U.S. Sentencing Guidelines Analysis:      The parties agree that the

Court is not bound by the Guidelines analysis agreed to herein.    The parties may not have foreseen

all applicable Guidelines.    The Court may, in its discretion, apply or not apply any Guideline

despite the agreement herein and the parties shall not be permitted to withdraw from the plea

agreement.

7.   WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

        a.    Appeal:   The defendant has been fully apprised by defense counsel of the defendant's

rights concerning appeal and fully understands the right to appeal the sentence under

Title 18, United States Code, Section 3742.


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                 (1)   Non-Sentencing Issues:        The parties waive all rights to appeal all non-

 jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to

 motions, discovery, and the guilty plea.

                 (2)   Sentencing Issues:      The parties disagree as to the application of Section

 3Bl.l(a), and will litigate that issue at sentencing. The parties agree to abide by the district court' s

 determination of that issue, and specifically waive their rights to appeal the district court' s ruling

 resulting in the calculation of the Total Offense Level. In the event the Court accepts the plea, and

 after determining the appropriate Total Offense Level, sentences the defendant within or below the

 corresponding range, then, as a part of this agreement, the defendant hereby waives all rights to

appeal all sentencing issues other than Criminal History, but only if it affects the Base Offense

Level or Criminal History Category. Similarly, the Government hereby waives all rights to appeal

all sentencing issues other than Criminal History, provided the Court accepts the plea, and after

determining the appropriate Total Offense Level, sentences the defendant within or above the

corresponding range.

        b.   Habeas Corpus:       The defendant agrees to waive all rights to contest the conviction

or sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

Code, Section 2255 , except for claims of prosecutorial misconduct or ineffective assistance of

counsel.

        c.   Right to Records:     The defendant waives all rights, whether asserted directly or by a

representative, to request from any department or agency of the United States any records pertaining

to the investigation or prosecution of this case, including any records that may be sought under the




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Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy Act, Title 5,

United States Code, Section 552(a).

8.   OTHER:

          a.     Disclosures Required by the United States Probation Office:         The defendant agrees

to truthfully complete and sign forms as required by the United States Probation Office

prior to sentencing and consents to the release of these forms and any supporting documentation

by the United States Probation Office to the government.

          b.      Civil or Administrative Actions not Barred; Effect on Other Governmental

Agencies:         Nothing contained herein limits the rights and authority of the United States to take

any civil, tax, immigration/deportation or administrative action against the defendant.

          c.     Supervised Release:     Pursuant to any supervised release term, the Court will impose

standard conditions upon the defendant and may impose special conditions related to the crime

defendant committed.         As a special condition of supervised release, defendant agrees not to initiate

any contact, direct or indirect, with victims of the offense or identified government witnesses.

These conditions will be restrictions on the defendant to which the defendant will be required to

adhere.        Violation of the conditions of supervised release resulting in revocation may require the

defendant to serve a term of imprisonment equal to the length of the term of supervised release, but

not greater than the term set forth in Title 18, United States Code, Section 3 5 83(e)(3 ), without credit

for the time served after release.      The defendant understands that parole has been abolished.

          d.     Mandatory Special Assessment:        Pursuant to Title 18, United States Code, Section

3013 , the Court is required to impose a mandatory special assessment of$100 for each felony count

for a total of $800, which the defendant agrees to pay at the time of sentencing. Money paid by the


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defendant toward any restitution or fine imposed by the Court shall be first used to pay any unpaid

 mandatory special assessment.

        e.   Possibility of Detention:      The defendant may be subject to immediate detention

pursuant to the provisions of Title 18, United States Code, Section 3143 .

        f.   Fines, Restitution and Costs of Incarceration and Supervision:              The Court may

 impose a fine , restitution (in addition to any penalty authorized by law), costs of incarceration and

costs of supervision.   The defendant agrees that any fine or restitution imposed by the Court will

be due and payable immediately.        The precise amount of restitution is unknown at the present

time.    Pursuant to Title 18, United States Code, Section 3663A, an order of restitution is

mandatory for all crimes listed in Section 3663A(c).       Regardless of the Count of conviction, the

amount of mandatory restitution imposed shall include all amounts allowed by Section 3663A(b)

and the amount of loss agreed to by the parties, including all relevant conduct loss .    The defendant

agrees to provide full restitution to all victims of all charges in the indictment.

        g.   Forfeiture:    The defendant knowingly and voluntarily waives any right, title, and

interest in all items seized by law enforcement officials during the course of their investigation,

whether or not they are subject to forfeiture, and agrees not to contest the vesting of title of such

items in the United States. The defendant agrees to abandon his interest in all seized items and

further agrees that said items may be disposed of or destroyed by law enforcement officials in any

manner without further notice. By abandoning these items, the defendant waives any future rights

to receive additional notice, a valuation of the items, or the opportunity to submit a claim to contest

the disposition or destruction of the items that may exist under any policies or procedures of the

seizing agencies.


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        The defendant agrees the stipulated facts above are sufficient to support forfeiture of certain

 assets pursuant to the applicable forfeiture authorities. Defendant also agrees to the entry of a

 forfeiture money judgment against the defendant and in favor of the Government. The defendant

 agrees the Court may enter a consent preliminary order of forfeiture any time before sentencing,

 and such Order will become final as to the defendant when it is issued and will be part of the

 sentence. The defendant agrees not to object to any administrative, civil , or criminal forfeiture

 brought against any assets subject to forfeiture. The defendant will execute any documents and take

all steps needed to transfer title or ownership of said assets to the government and/or to rebut the

claims of nominees and/or alleged third party owners. The defendant knowingly and intelligently

waives all constitutional, statutory, and equitable challenges to any forfeiture carried out in

accordance with this plea agreement, including but not limited to that defendant was not given

adequate notice of forfeiture in the charging instrument.

        9.   ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

In pleading guilty, the defendant acknowledges, fully understands and hereby waives his rights,

including but not limited to: the right to plead not guilty to the charges; the right to be tried by a

jury in a public and speedy trial; the right to file pretrial motions, including motions to suppress or

exclude evidence; the right at such trial to a presumption of innocence; the right to require the

government to prove the elements of the offenses against the defendant beyond a reasonable doubt;

the right not to testify; the right not to present any evidence; the right to be protected from compelled

self-incrimination; the right at trial to confront and cross-examine adverse witnesses; the right to

testify and present evidence and the right to compel the attendance of witnesses.        The defendant




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further understands that by this guilty plea, the defendant expressly waives all the rights set forth

 in this paragraph.

        The defendant fully understands that the defendant has the right to be represented by

counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of the

proceeding.     The defendant's counsel has explained these rights and the consequences of the

waiver of these rights.   The defendant fully understands that, as a result of the guilty plea, no trial

will, in fact, occur and that the only action remaining to be taken in this case is the imposition of

the sentence.

        The defendant is fully satisfied with the representation received from defense counsel.     The

defendant has reviewed the government's evidence and discussed the government's case and all

possible defenses and defense witnesses with defense counsel.        Defense counsel has completely

and satisfactorily explored all areas which the defendant has requested relative to the government's

case and any defenses.

10.   VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

        This document constitutes the entire agreement between the defendant and the government,

and no other promises or inducements have been made, directly or indirectly, by any agent of the

government, including any Department of Justice attorney, concerning any plea to be entered in

this case.   In addition, the defendant states that no person has, directly or indirectly, threatened or

coerced the defendant to do or refrain from doing anything in connection with any aspect of this

case, including entering a plea of guilty.




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         The defendant acknowledges having voluntarily entered into both the plea agreement and

 the guilty plea.   The defendant further acknowledges that this guilty plea is made of the defendant's

 own free will and that the defendant is, in fact, guilty.

 11.   CONSEQUENCES OF POST-PLEA MISCONDUCT:

         After pleading guilty and before sentencing, if defendant commits any crime, other than

 minor traffic offenses, violates any condition of release that results in revocation, violates any term

 of this guilty plea agreement, intentionally provides misleading, incomplete or untruthful

 information to the U.S. Probation Office or fails to appear for sentencing, the United States, at its

 option, may be released from its obligations under this agreement.     The Government may also, in

 its discretion, proceed with this agreement and may advocate for any sentencing position supported

by the facts, including but not limited to obstruction of justice and denial of acceptance of

responsibility.

12.    NO RIGHT TO WITHDRAW GUILTY PLEA:

        Pursuant to Rule 1 l(c) and (d), Federal Rules of Criminal Procedure, the defendant

understands that there will be no right to withdraw the plea entered under this agreement, except

where the Court rejects those portions of the plea agreement which deal with charges the




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     government agrees to dismiss or not to bring.




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                                                           Assistant United States Attorney
                                                           111 South 10th Street, Room 20.333



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                                                           Attorney for Defendant




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